         Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 1 of 16



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


    DAVID S. BRAUN,

                      Plaintiff,

    v.                                      No. 18-cv-2914 (EGS)
    UNITED STATES POSTAL SERVICE
    et al.,

                      Defendants.



                             MEMORANDUM OPINION

         Pending before the Court is Defendant the United States

Postal Services’ (“USPS”) Motion for Summary Judgment on Mr.

Braun’s remaining claims brought pursuant to the Freedom of

Information Act (“FOIA”), 5 U.S.C. § 552. 1 Upon careful

consideration of the motion, response and reply thereto, and for

the reasons explained below, the Court GRANTS the USPS’s Motion

for Summary Judgment.




1
 In the Court’s March 24, 2020 Memorandum Opinion and Order, the
Court granted Defendants’ Motion to Dismiss Part of the
Complaint. In doing so, the Court determined, among other
things, that it lacked subject matter jurisdiction over Mr.
Braun’s Privacy Act Claim against the Federal Bureau of
Investigation. See Mem. Op. and Order, ECF No. 23 at 9-10.
Accordingly, the remaining defendant in this case is the USPS
and the Court need not address its arguments regarding Mr.
Braun’s Privacy Act Claim. See Mot. for Summ. J., ECF No. 27-1
at 24-27.
                                       1
       Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 2 of 16



      I.   Background

    The following facts are not in dispute. 2 On July 26, 2018, Mr.

Braun submitted a records request to the USPS Office of

Inspector General (“OIG”). Def.’s Statement of Material Facts

(“SOF”), ECF No. 27-2 ¶ 1. The records requested were: (1) all

records produced from contacts to the OIG from my previous

record request of May of 2015; and (2) complaints made on or

about five specific dates. Id. ¶¶ 2-3.

      USPS OIG (hereinafter “the Agency”) “construed the request

to be seeking all records generated in response to allegations

received from [Mr. Braun] after a FOIA request that [he] had

previously filed in May 2015.” Id. ¶ 5. As such complaints are

handled by the USPS OIG’s Office of Investigations, the Agency

searched its electronic investigation files, which are stored in

the Case Reporting, Investigations, Management, and Evidence

System (“CRIMES”) database. Id. ¶¶ 6-7.

      The Agency conducted the searches, id. ¶¶ 6-16; and in

August 2018, released to Mr. Braun: (1) 266 pages in full; (2)


2
 Mr. Braun did not comply with the requirement in the Court’s
Standing Order Governing Civil Cases to provide a Counter-
Statement of Disputed Facts. See Resp. to Mot. for Summ. J., ECF
No. 28. Accordingly, the Court directed Mr. Braun to comply with
that requirement. See Min. Order (July 16, 2021). In response,
Mr. Braun filed a “Statement of Material Facts Not in Dispute”
that fails to respond to any of the facts set forth in
Defendant’s Statement of Material Facts. See ECF No. 32.
Furthermore, the facts are unrelated to the motion pending
before the Court. See id.
                                     2
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 3 of 16



three (3) pages with redactions pursuant to FOIA Exemptions b(5)

and (b)(7)(C); and (3) 50 pages with redactions pursuant to FOIA

Exemption (b)(7)(C), id. ¶¶ 18, 20. On September 1, 2018, Mr.

Braun filed an administrative appeal of the Agency’s final

response and that appeal was denied on October 4, 2018. Id. ¶

21, 23. Thereafter, in September 2018, the Agency issued a

supplemental production. Id. ¶ 24. The supplemental production

included: (1) 309 pages; and (2) the same three pages with

redactions pursuant to Exemption 7(C) that had been released in

August 2018. Id. ¶ 26. The redactions that had been previously

applied pursuant to Exemptions 5 and 7(C) were removed and those

53 pages were produced in full. Id.

     II.   Legal Standard

     FOIA cases are typically and appropriately decided on

motions for summary judgment. Gold Anti–Trust Action Comm., Inc.

v. Bd. of Governors of Fed. Reserve Sys., 762 F. Supp. 2d 123,

130 (D.D.C 2011) (citations omitted). Summary judgment is

warranted “if the movant shows [by affidavit or other admissible

evidence] that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). A party opposing a summary judgment

motion must show that a genuine factual issue exists by “(A)

citing to particular parts of materials in the record . . . or

(B) showing that the materials cited do not establish the

                                   3
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 4 of 16



absence . . . of a genuine dispute[.]” Fed. R. Civ. P. 56(c).

Any factual assertions in the moving party's affidavits will be

accepted as true unless the opposing party submits his own

affidavits or other documentary evidence contradicting the

assertion. See Neal v. Kelly, 963 F.2d 453, 456 (D.C. Cir.

1992). However, “the inferences to be drawn from the underlying

facts . . . must be viewed in the light most favorable to the

party opposing the motion.” Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587 (1986) (internal quotation

marks omitted).

     An agency has the burden of demonstrating that “each

document that falls within the class requested either has been

produced, is unidentifiable, or is wholly [or partially] exempt

from the Act's inspection requirements.” Goland v. CIA, 607 F.2d

339, 352 (D.C. Cir. 1978) (internal citation and quotation

omitted). In reviewing a summary judgment motion in the FOIA

context, the court must conduct a de novo review of the record,

see 5 U.S.C. § 552(a)(4)(B), but may rely on agency

declarations. See SafeCard Servs. v. SEC, 926 F.2d 1197, 1200

(D.C. Cir. 1991). Agency affidavits or declarations that are

“relatively detailed and non-conclusory” are accorded “a

presumption of good faith, which cannot be rebutted by purely

speculative claims about the existence and discoverability of

other documents.” Id. (internal citation and quotation omitted).
                                   4
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 5 of 16



“[T]he Court may award summary judgment solely on the basis of

information provided by the department or agency in declarations

when the declarations describe the documents and the

justifications for nondisclosure with reasonably specific

detail, demonstrate that the information withheld logically

falls within the claimed exemption, and are not controverted by

either contrary evidence in the record nor by evidence of agency

bad faith.” Military Audit Project v. Casey, 656 F.2d 724, 738

(D.C. Cir. 1981) (internal quotation marks and citation

omitted).

     A.     FOIA Exemptions

     Congress enacted FOIA to “open up the workings of

government to public scrutiny through the disclosure of

government records.” Judicial Watch, Inc. v. Dep’t of Commerce

375 F. Supp. 3d 93, 97 (D.D.C. 2019) (quoting Stern v. FBI, 737

F.2d 84, 88 (D.C. Cir. 1984) (internal quotation marks and

alterations omitted)). Although the legislation is aimed toward

“open[ness] . . . of government,” id.; Congress acknowledged

that “legitimate governmental and private interests could be

harmed by release of certain types of information,” Critical

Mass Energy Project v. Nuclear Regulatory Comm'n, 975 F.2d 871,

872 (D.C. Cir. 1992) (internal quotation marks and citations

omitted). As such, pursuant to FOIA's nine exemptions, an agency


                                   5
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 6 of 16



may withhold requested information. 5 U.S.C. § 552(b)(1)-(9).

However, because FOIA established a strong presumption in favor

of disclosure, requested material must be disclosed unless it

falls squarely within one of the exemptions. See Burka v. U.S.

Dep't of Health and Human Servs., 87 F.3d 508, 515 (D.C. Cir.

1996).

  The agency bears the burden of justifying any withholding. See

Bigwood v. U.S. Agency for Int'l Dev., 484 F. Supp. 2d 68, 74

(D.D.C. 2007). “Ultimately, an agency’s justification for

invoking a FOIA exemption is sufficient if it appears logical or

plausible.” Judicial Watch, Inc. v. U.S. Dep't of Def., 715 F.3d

937, 941 (D.C. Cir. 2013) (internal quotation marks omitted).


     III. Analysis

         A. The Agency Conducted an Adequate Search

     To prevail at the summary judgment stage, “the agency must

show that it made a good faith effort to conduct a search for

the requested records, using methods which can be reasonably

expected to produce the information requested.” Oglesby v. U.S.

Dep’t of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990). “[T]he

issue to be resolved is not whether there might exist any other

documents possibly responsive to the request, but rather whether

the search for those documents was adequate.” Weisberg v. U.S.

Dep’t of Justice, 745 F.2d 1476, 1485 (D.C. Cir. 1984) (emphasis

in original). “The adequacy of the search, in turn, is judged by
                                   6
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 7 of 16



a standard of reasonableness and depends, not surprisingly, upon

the facts of each case.” Id. (citation omitted). To meet its

burden, an agency may provide “a reasonably detailed affidavit,

setting forth the search terms and the type of search performed,

and averring that all files likely to contain responsive

materials . . . were searched.” Iturralde v. Comptroller of

Currency, 315 F.3d 311, 313-14 (D.C. Cir. 2003) (citation and

internal quotation marks omitted). “If, however, the record

leaves substantial doubt as to the sufficiency of the search,

summary judgment for the agency is not proper.” Truitt v. Dep’t

of State, 897 F.2d 540, 542 (D.C. Cir. 1990).

     Here, the Agency has demonstrated that it has met its FOIA

obligations by conducting an adequate and reasonable search for

responsive records from the CRIMES database. The Agency’s two

declarations—(1) Sacknowitz Declaration, and (2) Chong

Declaration—“explain in reasonable detail the scope and method

of the search.” Kidd v. DOJ, 362 F. Supp. 2d 291, 295 (D.D.C.

2005) (citation and internal quotation marks omitted). For the

reasons explained below, the Court is satisfied that the Agency

conducted adequate searches for the records.

     The records Mr. Braun requested were: (1) all records

produced from contacts to the OIG from my previous record

request of May of 2015; and (2) complaints made on or around

five specific dates. SOF, ECF No. 27-2 ¶¶ 2-3. The Agency

                                   7
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 8 of 16



“construed the request to be seeking all records generated in

response to allegations received from [Mr. Braun] after a FOIA

request that [he] had previously filed in May 2015.” Sacknowitz

Decl., ECF No. 27-3 ¶ 8. As such complaints are handled by the

Agency’s Office of Investigations, the Agency searched its

electronic investigation files, which are stored CRIMES

database. Id. The CRIMES database also preserves records of OIG

Hotline contacts, which was within the scope of the Agency’s

search. Id. ¶ 9. The database is searchable by datapoints

including the name of the complainant and the subject of the

complaint. Id. Pursuant to Agency Policy, IGM 341, Case

Management System and Report Writing, agents are required to

upload all documents into the CRIMES database. Chong Decl., ECF

No. 27-4 ¶ 6.

     The Agency searched the CRIMES database using Mr. Braun’s

name. Sacknowitz Decl., ECF No. 27-3 ¶ 10. The search resulted

in identifying seven case reference numbers under which files

related to Mr. Braun were stored. Id. ¶ 11. The seven case

numbers related to Mr. Braun’s request contained 319 pages of

documents. Id. ¶ 12.

     The Agency also conducted a supplemental search. The Agency

maintains most of its electronic documents in email “OneDrive”

or “Sharepoint” accounts assigned to employees, which the Agency

is able to search. Chong Decl., ECF No. 27-4 ¶ 7. In addition to

                                   8
      Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 9 of 16



the search of the CRIMES database, the Agency “also conducted an

electronic search of data associated with OIG employee names

that appeared in the search results from the OIG’s initial

search of the CRIMES database.” Id. ¶ 8. In conducting this

additional search, the Agency used the search terms: “Braun”;

“David Braun”; and “David S. Braun.” Id. ¶ 9. The Agency

determined that the results of the supplemental search of

electronic records were not responsive to Mr. Braun’s FOIA

request. Id. ¶ 10.

     All 319 pages of documents were disclosed to Mr. Braun. See

Sacknowitz Decl., ECF No. 27-3 ¶ 18. Initially, 266 pages were

released in full and 53 were partially redacted. Id. Thereafter,

the Agency issued a supplemental production of 309 pages,

removing redactions from previously released 53 pages, excluding

the same three records with redactions under Exemption 7(C). See

Chong. Decl., ECF No. 27-2 ¶ 26.

     The Agency argues that its “interpretation of [Mr. Braun’s]

request was reasonable and consistent with the government’s

obligation ‘to construe a FOIA request liberally.’” Mot. for

Summ. J., ECF No. 27-1 at 15 3 (citing Gallace v. USDA, No. 03-

5141, 2003 WL 2231666 at *1 (D.C. Cir. Sept. 30, 2003)). It



3
 When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.
                                    9
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 10 of 16



further argues that it “has met its burden of showing that it

complied with FOIA by providing ‘a reasonably detailed

affidavit, setting forth the search terms and the type of search

performed, and averring that all files likely to contain

responsible materials (if such records exist) were searched.’”

Id. (quoting Valencia-Lucena v. U.S. Coast Guard, 180 F.3d 321,

326 (D.C. Cir. 1999). The Agency concludes that it has met the

applicable standard of reasonableness. Id. at 17.

     Having “made a prima facie showing of adequacy, the burden

[then] shifts to plaintiff to provide ... evidence sufficient to

raise ‘substantial doubt’ concerning the adequacy of the

agency's search.” Schoenman v. FBI, 764 F. Supp. 2d 40, 46

(D.D.C. 2011) (quoting Iturralde v. Comptroller of Currency, 315

F. 3d 311, 314 (D.C. Cir. 2003) ). Mr. Braun, however, offers no

argument to dispute the adequacy of the Agency’s search. See

generally, Response/Opposition to Motion for Summary Judgment,

ECF No. 28; Statement of Material Facts Not in Dispute, ECF No.

32. The Court’s review of the record does not raise substantial

doubt about the adequacy of the Agency’s search.

     Upon review of the two affidavits, the Court concludes that

they are reasonably detailed, they have set forth the type of

searches performed and the search terms used, and they have

explained why the files that were searched were likely to

contain responsive materials. Accordingly, the Court concludes

                                   10
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 11 of 16



that the Agency’s search is adequate under the standard of

reasonableness. Truitt v. Dep’t of State, 897 F.2d 540, 542

(D.C. Cir. 1990) (“The adequacy of an agency’s search is

measured by a standard of reasonableness, and is dependent upon

the circumstances of the case.”) (footnote and internal

quotation marks omitted)). For these reasons, the Court GRANTS

the Agency’s Motion for Summary Judgment as to the adequacy of

the search.

       B. The Agency’s Withholdings of Employee(s)’ Name(s)
          Under FOIA Exemption 7(C) Were Proper

     Pursuant to FOIA Exemption 7(C), the Agency withheld the

identities of the law enforcement personnel who prepared the

reports that were disclosed to Mr. Braun in three pages of the

records disclosed. SOF, ECF No. 27-2 ¶ 30.

     Exemption 7(C) protects from disclosure records compiled

for law enforcement purposes to the extent that their disclosure

“could reasonably be expected to constitute an unwarranted

invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C).

“[J]udicial review of an asserted Exemption 7 privilege requires

a two-part inquiry.” FBI v. Abramson, 456 U.S. 615, 622 (1982).

“[T]o pass the FOIA Exemption 7 threshold, . . . an agency must

establish that its investigatory activities are realistically

based on a legitimate concern that federal laws have been or may

be violated . . . .” Pratt v. Webster, 673 F.2d 402, 421 (D.C.


                                   11
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 12 of 16



Cir. 1982). The USPS OIG is an independent law enforcement and

oversight agency for the USPS. 39 C.F.R. § 221.3(a). In

addition, “[t]he USPS OIG relies principally on the Special

Agents it employs to investigate allegations it receives that

USPS employees have violated laws governing the operation of the

[USPS]”. Chong Decl., ECF No. 27-2 ¶ 31. Mr. Braun does not

dispute that the threshold requirement has been met. See

generally, Response/Opposition to Motion for Summary Judgment,

ECF No. 28; Statement of Material Facts Not in Dispute, ECF No.

32. In view of the role of the USPS OIG, the Court concludes

that the threshold requirement has been met.

     Next, the Agency “must show that release of those records

‘could reasonably be expected to constitute an unwarranted

invasion of personal privacy.’” Prop. of the People v. U.S.

Dep’t of Justice, 310 F. Supp. 3d 57, 65-66 (D.D.C. 2018)

(quoting 5 U.S.C. § 552(b)(7)(C)). In redacting the identities

of the law enforcement personnel who prepared the reports, the

Agency “determined that the agent(s) identified in the case

summaries maintained a strong privacy interest in their name(s).

[The Agency] further determined that public identification of

the law enforcement personnel referenced in these investigatory

files could subject them to harassment and annoyance in the

conduct of their official duties and private lives.” Chong

Decl., ECF No. 27-4 ¶ 38. The Agency “then considered whether

                                   12
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 13 of 16



any public interest would be served by disclosure and, if so,

whether any public interest outweighed the individual(s)’

recognized privacy interest,” id. ¶ 39; and “determined that

redaction of the name(s) of the [law enforcement personnel] does

not impede the ability of the public to ascertain from the

redacted documents what the [Agency] did with respect to the

allegations it received from Mr. Braun . . .[nor] does [it]

reveal the operations and activities of [the Agency] or shed

light on the [Agency’s] performance its duties,” id. ¶¶ 24-25.

The Agency concluded that there was “no discernible public

interest in disclosing the name(s) of the special agents

assigned to investigate [Mr. Braun’s] allegations and who made

the closing decisions.” Id. ¶ 24.

     The Court must “balance the privacy interests that would be

compromised by disclosure against the public interest in release

of the requested information.” Davis v. U.S. Dep’t of Justice,

968 F.2d 1276, 1281 (D.C. Cir. 1992). “On the privacy side of

the ledger, [Court of Appeals for the District of Columbia

Circuit] decisions have consistently supported nondisclosure of

names or other information identifying individuals appearing in

law enforcement records, including investigators, suspects,

witnesses, and informants.” Schrecker v. U. S. Dep’t of Justice,

349 F.3d 657, 661 (D.C. Cir. 2003) (collecting cases). Redaction

of the names of federal law enforcement officers and support

                                   13
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 14 of 16



personnel under similar circumstances has been routinely

upheld. See, e.g., Pray v. Dep't of Justice, 902 F. Supp. 1, 3

(D.D.C. 1995), aff'd in relevant part, 1996 WL 734142 (D.C. Cir.

Nov. 20, 1996); Lesar v. United States Dep't of Justice, 636 F.

2d 472, 487 (D.C. Cir. 1980).

     To overcome the protections of Exemption 7(C). Mr. Braun

“must show that the public interest sought to be advanced is a

significant one, an interest more specific than having the

information for its own sake,” and that “the information is

likely to advance that interest.” National Archives & Records

Admin. v. Favish, 541 U.S. 157, 172 (2004); see Blackwell, 646

F. 3d at 41. Mr. Braun advances no argument regarding whether

the exemption was properly invoked. See generally,

Response/Opposition to Motion for Summary Judgment, ECF No. 28;

Statement of Material Facts Not in Dispute, ECF No. 32.

     Pursuant to the mandatory authority in this Circuit, the

Court concludes that the Agency properly withheld under

Exemption 7(C) the identities of the law enforcement personnel

in light of the privacy interest the personnel have in

nondisclosure of their identities and the lack of a significant

public interest in the identities of the personnel. Accordingly,

the Court GRANTS the Agency’s motion for summary judgment as to

Exemption 7(C).



                                   14
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 15 of 16



       C. USPS OIG Produced All Reasonable Segregable
          Information

     Under FOIA, “even if [the] agency establishes an exemption,

it must nonetheless disclose all reasonably segregable,

nonexempt portions of the requested record(s).” Roth v. U.S.

Dep’t of Justice, 642 F. 3d 1161, 1167 (D.C. Cir. 2001)

(internal quotation marks and citation omitted). “[I]t has long

been the rule in this Circuit that non-exempt portions of a

document must be disclosed unless they are inextricably

intertwined with exempt portions.” Wilderness Soc'y v. U.S.

Dep't of Interior, 344 F. Supp. 2d 1, 18 (D.D.C. 2004) (quoting

Mead Data Cent., Inc. v. U.S. Dep't of Air Force, 566 F. 2d 242,

260 (D.C. Cir. 1977)). Thus, an agency must provide “a detailed

justification and not just conclusory statements to demonstrate

that all reasonably segregable information has been released.”

Valfells v. CIA, 717 F. Supp. 2d 110, 120 (D.D.C. 2010)

(internal quotation marks and citation omitted). However,

“[a]gencies are entitled to a presumption that they complied

with the obligation to disclose reasonably segregable material,”

which must be overcome by some “quantum of evidence” from the

requester. Sussman v. U.S. Marshals Serv., 494 F. 3d 1106, 1117

(D.C. Cir. 2007).

     The record establishes that the only information that has

been redacted are the identities of law enforcement personnel.


                                   15
     Case 1:18-cv-02914-EGS Document 35 Filed 03/01/22 Page 16 of 16



Accordingly, the Court concludes that the Agency has satisfied

its segregability obligations under FOIA.

     IV.   Conclusion

     For the reasons stated above, it is hereby

     ORDERED that the USPS’s Motion for Summary Judgment, ECF

No. 27, is GRANTED. An appropriate Order accompanies this

Memorandum Opinion.

SO ORDERED.

SIGNED:    Emmet G. Sullivan
           United States District Judge
           March 1, 2022




                                   16
